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                       IN THE UNITED STATES DISTRICT COURT
                           FOR THE DISTRICT OF COLUMBIA



CASSANDRA FAIRBANKS,
Plaintiff,

v.                                              Civil Action No.: 1:17-cv-1052-TNM

EMMA ROLLER,
Defendant.


                           WITHDRAWAL OF APPEARANCE

       Pursuant to Local Civil Rule 83.6(b), the Clerk of the Court will please note the

withdrawal of the appearance of Daniel D. Mauler, Esq., in this matter on behalf of:

          •   Plaintiff Cassandra Fairbanks

       This withdrawal is made by Notice pursuant to Local Civil Rule 83.6(b). No trial

date has yet been set in this matter, and substitute counsel have previously entered their

appearances on behalf of the above-referenced party. Finally, the above-referenced party

has consented to this withdrawal, as evidenced by their signatures below.



                                 [Signature Page Follows]




                               ______________________________
                           Withdrawal of Appearance of Daniel D. Mauler
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Respectfully submitted,



 /s/ Daniel D. Mauler
Daniel D. Mauler (DC Bar No. 977757)
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/s/ Cassandra Fairbanks (by DDM) 1                                         April 10, 2018
________________________________                              Date: ___________________________
Cassandra Fairbanks (individually)




1
 Ms. Fairbanks has authorized in writing that the withdrawing counsel may sign this notice on her behalf, and this
written authorization will be kept on file by the withdrawing counsel.
                                         ______________________________
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                                CERTIFICATE OF SERVICE
       I hereby certify that on April 10, 2018, a copy of the foregoing was filed and served via
the CM/ECF system, which will serve a Notice of Electronic filing upon all counsel of record,
including the following:

                              Laura R. Handman
                              Eric J. Feder
                              DAVIS WRIGHT TREMAINE LLP
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                              Counsel for Defendant


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                             Withdrawal of Appearance of Daniel D. Mauler
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